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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


UNITED STATES OF AMERICA,

      Plaintiff,

vs                                                     Case No: 06-20185
                                                       Honorable Victoria A. Roberts
MARCUS LAMONT FREEMAN,

     Defendant.
_____________________________/

                                        ORDER


      Marcus Freeman filed a Motion in Limine to Exclude Co-Conspirator Statements

Not Made in the Course of and in Furtherance of the Alleged Conspiracy (Doc. #463).

Roy West joined the motion (Doc. #473). Alvino Cornelius joined as well (Doc. #472).

I.    INTRODUCTION

      Using a Title III wiretap, the Government intercepted telephone conversations

between West and Bracey, and West and other individuals, as well as one conversation

between Bracey and other individuals. In his motion, Freeman identifies eight telephone

sessions which he believes are inadmissible.

      Although Marcus Freeman’s motion discusses a number of recordings, the

Government says that in Freeman’s trial, it will only seek to introduce redacted versions

of taped conversations #11278 and 11279 (Government Combined Response, Exhibit

E).

      The Court reserves ruling.


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II.    FACTS

       In these sessions, West speaks with Bracey on December 20, 2005 at 6:31 pm

and 6:33 pm, several minutes after Day was murdered. (Doc. # 463, Exhs. A, B).

Freeman argues that the conversations captured are narrative, describing a past event

and do not further the objectives of the alleged conspiracy. This makes them

inadmissible hearsay. During one conversation, West tells Bracey, “they say dude is up

out of here.” Bracey then asks where he is, and West replies, “[t]hey say dude up out of

here.” (Doc. # 463, Exh. A). In session number 11279, West instructs Bracey to call

West as soon as somebody calls Bracey, and not to call anyone in the mean time. (Id.

at Exh. B). Immediately prior to these conversations, in session number 11274,

Freeman and “Ceaze” call West to tell him that “the situation is over with.” (Doc. # 486,

Exh. E). The Government contends that the conversations between West and Bracey

captured in session numbers 11278-11279 are admissible against Freeman under Rule

801 (d)(2)(E) “because West was apprising co-conspirator Bracey about the progress of

the conspiracy.” (Doc. # 486 at 18); see United States v. Martinez, 430 F.3d 317, 327

(6th Cir. 2005).

III.   CO-CONSPIRATOR LAW

       Under Fed. R. Evid. 801 (d)(2)(E), a statement is not hearsay if the statement is

offered against a party and it is made “by a coconspirator of [the] party during the

course and in furtherance of the conspiracy.” FED. R. EVID. 801 (d)(2)(E). Statements

made after the conspiracy ends, however, are not made in furtherance of the

conspiracy, and are not admissible under Rule 801 (d)(2)(E). United States v. Conrad,



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507 F.3d 424, 430 (6th Cir. 2007).

       In this case, the conspiracy charged involves murder-for-hire, not just murder.

Allegedly, co-conspirators were to kill Leonard Day in exchange for the payment of

money. Presumably, statements made to confirm the murder, in order to trigger the

payment, could be part of the conspiracy. See Martinez, 430 F.3d at 326 (statements

made to apprise a coconspirator of the progress of the conspiracy are in furtherance of

the conspiracy). “The case law gives ample support to the proposition that payment is

an integral and often final term in a conspiracy.” United States v. Hamilton, 689 F.2d

1262, 1270 (6th Cir. 1982) (citations omitted).

       Before a court can admit hearsay statements under the so-called “coconspirator

exception” to the hearsay rule, three foundational requirements must be established. Id.

at 429. “The government bears the burden of showing by a preponderance of the

evidence that a conspiracy existed, that the defendant was a member of the conspiracy,

and that the statement was made in the course and furtherance of the conspiracy.”

Martinez, 430 F.3d at 325 (6th Cir. 2005). These findings, often called Enright findings,

are findings of fact that must be made by the district court pursuant to Fed. R. Evid. 104

(a). Id. (citing United States v. Enright, 579 F.2d 980, 986-87 (6th Cir. 1978)); Conrad,

507 F.3d at 429. The Court may consider the statements at issue when determining

their admissibility under the exception. Martinez, 430 F.3d at 325. “Yet the statements

alone are not enough; they must be corroborated by independent evidence.” United

States v. Payne, 437 F.3d 540, 544 (6th Cir. 2006) (citing United States v. Clark, 18

F.3d 1337, 1341-42 (6th Cir. 1994)).

       The Sixth Circuit identified three methods by which this Court can determine the

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admissibility of evidence under the coconspirator exception. See United States v.

Vinson, 606 F.2d 149, 152-53 (6th Cir. 1979). The Court can conduct a “mini-hearing,”

without a jury, to hear evidence of the alleged conspiracy and make preliminary Enright

findings. Id. at 152. Or, the Court can require the Government to produce the

independent evidence of conspiracy at trial, before it attempts to introduce the hearsay,

and the Court can make the Enright findings at that time. Id. The third alternative is for

the Court to “admit the hearsay statements subject to later demonstration of their

admissibility by a preponderance of the evidence.” Id. at 153.

IV.    ANALYSIS

       The Government fails to provide the “independent evidence” it has of the alleged

conspiracy.

       The Court will employ the second approach recommended by the Sixth Circuit,

and reserve ruling on Freeman’s motion regarding the alleged hearsay statements. The

Court will make Enright findings before deciding whether the statements are admissible.

To determine whether the Government met its burden to establish by a preponderance

(1) a conspiracy; (2) Freeman’s involvement in the conspiracy; and (3) that the

statements were made in the course and in furtherance of the conspiracy, the Court

needs to hear the Government’s independent evidence of such at trial. Before the

finding is made by the Court, the Government must refrain from introducing any of the

hearsay statements made in these two sessions until the Court has made its ruling. This

procedure will “avoid[ ] ‘the danger of injecting the record with inadmissible hearsay in

anticipation of proof of a conspiracy which never materializes.’” Id. at 152-53 (quoting

United States v. Macklin, 573 F.2d 1046, 1049 n. 3 (8th Cir. 1978)).

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V.      CONCLUSION

        For these reasons, the Court will rule on this motion during trial.

        IT IS ORDERED.


                                                   /s/ Victoria A. Roberts
                                                 Victoria A. Roberts
                                                 United States District Judge

Dated: September 28, 2010

 The undersigned certifies that a copy of this
 document was served on the attorneys of
 record by electronic means or U.S. Mail on
 September 28, 2010.

 s/Linda Vertriest
 Deputy Clerk




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